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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA,                      §
                                               §
              Plaintiff,                       §             NO. 1:24-CR-00082-MJT
                                               §
v.                                             §
                                               §
LUIS TOMAS DIONICIO-COCHE,                     §         JUDGE MICHAEL TRUNCALE
                                               §
              Defendant.                       §



        ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                    ON DEFENDANT’S GUILTY PLEA

       The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

Procedure. Judge Zack Hawthorn conducted a hearing in the form and manner prescribed by

Federal Rule of Criminal Procedure 11 and issued his Findings of Fact and Recommendation on

Guilty Plea Before the United States Magistrate Judge. The magistrate judge recommended that

the court accept the Defendant’s guilty plea. He further recommended that the court adjudge the

Defendant guilty on Count One of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The court ORDERS

that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

Judge are ADOPTED. The court accepts the Defendant’s plea. The court ORDERS the

Defendant’s attorney to read and discuss the presentence report with the Defendant and file any

objections to the report BEFORE the date of the sentencing hearing.
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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, Luis Tomas Dionicio-Coche, is adjudged

guilty as to Count One of the Indictment charging a violation of 8 U.S.C. § 1326(a) – Reentry of

a Removed/Deported Alien.

       SIGNED at Beaumont, Texas, this 14th day of February, 2025.




                                         ________________________________________
                                                     MARCIA A. CRONE
                                              UNITED STATES DISTRICT JUDGE
